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                        UNITED STATES DISTRICT COURT FOR
                        THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

                                                 )
                                                 )
IN RE BROILER CHICKEN ANTITRUST
                                                 )
LITIGATION
                                                 )   Case No. 1:16-cv-08637
                                                 )
This Document Relates To: ALL ACTIONS            )   The Honorable Thomas M. Durkin
                                                 )   Magistrate Judge Jeffrey T. Gilbert
                                                 )


    ORDER REGARDING STIPULATION BETWEEN TRACK 1 PLAINTIFFS AND
            NORMAN W. FRIES, INC. D/B/A CLAXTON POULTRY
           FARMS TO EXTEND THE DEADLINE FOR PARTIALLY
                  STAYED OR STAYED DEPOSITIONS

       Pursuant to the agreed Stipulation between Track 1 Plaintiffs and Norman W. Fries, Inc.

d/b/a Claxton Poultry Farms to Extend the Deadline for Partially Stayed or Stayed Depositions per

Scheduling Order No. 18 (ECF No. 5685), the Court orders as follows:

       1.      The deposition of Jeramie Martin may proceed on August 10, 2022.

       2.      The deposition of Scott Brady may proceed on August 18, 2022.

       3.      This order does not change or impact any other dates or deadlines set by Scheduling

Order No. 18, other than the depositions specifically set forth above.



 Dated: 8/4/2022
                                                             Honorable Jeffrey T. Gilbert
                                                             United States Magistrate Judge
